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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Ronald H. Pratte,                               No. CV-19-00239-PHX-GMS
10                 Plaintiff,                        ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                 Defendants.
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15          The Court having reviewed the Stipulated Motion to Defer the Parties' Exchange of
16   Initial Mandatory Discovery Responses (Doc. 7), and good cause appearing,
17          IT IS ORDERED granting the Parties' Stipulated Motion to Defer the Exchange of
18   Initial Mandatory Discovery Responses.
19          IT IS FURTHER ORDERED the Parties shall exchange their initial MIDP
20   disclosures or the Plaintiff’s counsel shall lodge a substitution of counsel on or before
21   March 27, 2019.
22          IT IS FURTHER ORDERED that should Plaintiff’s counsel file for substitution
23   of counsel, the parties’ shall exchange their initial MIDP disclosures within 30 days of
24   that date.
25          Dated this 15th day of March, 2019.
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